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                  REPLY ADDENDUM

   Government Exhibits 7E, 9C, and 13-17

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               Government Exhibit 15

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Reporter #5                                 Reporter #5




                                                    Government Exhibit 16
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